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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA


 LEAGUE OF WOMEN VOTERS OF PENNSYLVANIA,
 et al.,
         Plaintiffs,                                             No. 17-cv-5137
 v.

 THE COMMONWEALTH OF PENNSYLVANIA, et al.,
      Defendants.


                                            ORDER

       Upon consideration of Defendant's Motion to Stay Enforcem

Order, and any response thereto, it is hereby ORDERED that the Motion is GRANTED. It is

further ORDERED that the April 13, 2018 Order cannot be enforced pending the disposition of

the appeal now pending in the Third Circuit Court of Appeals at 18-183 8.

                                                    BY THE COURT:
